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1    TRACY L. WILKISON
     Acting United States Attorney
2    SCOTT M. GARRINGER
     Assistant United States Attorney
3    Chief, Criminal Division
     ALEXANDER C.K. WYMAN (Cal. Bar No. 295339)
4    Assistant United States Attorney
     Major Frauds Section
5         1100 United States Courthouse
          312 North Spring Street
6         Los Angeles, California 90012
          Telephone: (213) 894-2435
7         Facsimile: (213) 894-6269
          Email:     Alex.Wyman@usdoj.gov
8
     BRETT A. SAGEL (Cal. Bar No. 243918)
9    Assistant United States Attorney
          Ronald Reagan Federal Building
10        411 West Fourth Street, Suite 8000
          Santa Ana, California 92701
11        Telephone: (714) 338-3598
          Facsimile: (714) 338-3708
12        Email:     Brett.Sagel@usdoj.gov
13   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
14
                              UNITED STATES DISTRICT COURT
15
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                 No. SA CR 19-061-JVS
17
                Plaintiff,                     GOVERNMENT’S POSITION ON THE
18                                             COURT’S FINAL JURY INSTRUCTIONS AS
                      v.                       OF AUGUST 11, 2021, AND ADDITIONAL
19                                             PROPOSED JURY INSTRUCTION
     MICHAEL JOHN AVENATTI,
20
                Defendant.
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23         Plaintiff United States of America, by and through its counsel
24   of record, the Acting United States Attorney for the Central District
25   of California and Assistant United States Attorneys Brett A. Sagel
26   and Alexander C.K. Wyman, hereby files its Position on the Court’s
27   Final Jury Instructions as of August 11, 2021, and Additional
28   Proposed Jury Instruction.
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1          This Position is based upon the attached memorandum of points

2    and authorities, the files and records in this case, and such further

3    evidence and argument as the Court may permit.

4     Dated: August 11, 2021               Respectfully submitted,

5                                          TRACY L. WILKISON
                                           Acting United States Attorney
6
                                           SCOTT M. GARRINGER
7                                          Assistant United States Attorney
                                           Chief, Criminal Division
8

9                                                /s/
                                           BRETT A. SAGEL
10                                         ALEXANDER C.K. WYMAN
                                           Assistant United States Attorneys
11
                                           Attorneys for Plaintiff
12                                         UNITED STATES OF AMERICA

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1                        MEMORANDUM OF POINTS AND AUTHORITIES

2          On August 11, 2021, the Court submitted to the parties the

3    Court’s current set of final jury instructions.           The government has

4    reviewed the Court’s instructions and hereby provides its position on

5    the following instructions:

6          •   Court’s Instruction No. 13:      This instruction concerns
7              evidence that defendant has previously been convicted of a

8              crime.   By its terms, it appears to be applicable only if

9              defendant testifies.
10         •   Court’s Instruction No. 18:      No government witness who has
11             testified in this trial has been given immunity.          This

12             instruction therefore appears to be inapplicable.

13         •   Court’s Instruction No. 20:      It has not been shown that any
14             government witness “lied under oath on an earlier occasion.”

15             The only possible witness the government is aware of who has

16             previously lied under oath is defendant.         Moreover, to the

17             extent that defendant has a good faith belief that a

18             government (or defense) witness lied under oath, Ninth

19             Circuit Model Jury Instructions Nos. 1.7 and 3.9 adequately

20             instruct the jury on evaluating witness credibility.

21         •   Court’s Instruction No. 26:      The government does not object
22             to this “good faith” instruction, but it should be paired --

23             or combined -- with Court’s Instruction No. 29, which also

24             discusses good faith, as the Ninth Circuit approved in United

25             States v. Molinaro, 11 F.3d 853, 863 (9th Cir. 1993).

26         In addition, the government proposes that the Court give the

27   following instruction regarding the absence of any requirement by the

28   government to prove that the victims suffered particular losses:
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1                “Intent to deceive and cheat” means that, to be guilty of

2          wire fraud, a defendant must act with the intent not only to

3          make false statements or utilize other forms of deception, but

4          also to deprive a victim of money or property by means of those

5          deceptions.

6                The government is not required to prove that a victim

7          suffered any particular amount of loss or any loss at all, only

8          that the defendant intended to deprive the victim of money or

9          property by deceptive means.       It is not a defense that the
10         defendant intended to repay the victim later, or compensate the
11         victim with something of equal value.
12         Sources: Comment to 9th Cir. Model Criminal Jury Instr.
           No. 8.124; United States v. Miller, 953 F.3d 1095, 1101-03
13         (9th Cir. 2020); Shaw v. United States, 137 S. Ct. 462, 467
           (2016); Nijhawan v. Holder, 557 U.S. 29, 32 (2009).
14

15         This instruction is necessary to rebut the arguments defendant

16   made during his opening statement, and has attempted to make during

17   cross-examination, that the government is required to prove the exact

18   losses suffered by each victim.        Specifically, defendant made the

19   following argument during his opening statement:

20              It is the government’s burden to prove, ladies and
           gentlemen, each and every one of these items to the dollar.
21         This is a criminal case, a serious one. This isn’t a civil
           case. It’s not a State Bar proceeding. Close is not good
22         enough. To the dollar, ladies and gentlemen. And the
           evidence will show that despite working on this case for
23         well over two years, despite all of the resources and
           agents of the federal government, they still don’t have the
24         numbers right. It doesn’t add up.

25   (RT 7/21/2021, Vol. 1, at 69 (emphasis added).)           Over the course of

26   trial, defendant has attempted to make this argument through cross-

27   examining government witnesses, requesting his victims on the stand

28   to perform math calculations about exactly how much they are owed in

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1    an apparent attempt to prove that the government cannot pinpoint the

2    exact number of their losses.        Defendant has then repeatedly asked

3    witnesses whether the government has previously asked the victims to

4    perform these calculations.       Defendant’s clear implication in doing

5    so is that he is not guilty of wire fraud if the government cannot

6    establish how much the victims lost.

7          That is not the law.      The Supreme Court acknowledged as much in

8    Nijhawan v. Holder, 557 U.S. 29, 32 (2009), in which it noted that

9    “none of these statutes [mail fraud, wire fraud, bank fraud, and
10   money laundering, 18 U.S.C. §§ 1341, 1343, 1344, 1956(h)] requires a
11   finding of any particular amount of victim loss.”           In Shaw v. United
12   States, the Supreme Court explicitly held that the bank fraud

13   statute, 18 U.S.C. § 1344, “while insisting upon ‘a scheme to

14   defraud,’ demands neither a showing of ultimate financial loss nor a

15   showing of intent to cause financial loss.”          137 S. Ct. 462, 467

16   (2016) (emphasis added).       As the Court reasoned, “Many years ago

17   Judge Learned Hand pointed out that ‘[a] man is none the less cheated

18   out of his property, when he is induced to part with it by fraud,’

19   even if ‘he gets a quid pro quo of equal value.’”           Id. (quoting

20   United States v. Rowe, 56 F.2d 747, 749 (2d Cir. 1932)).             “That is

21   because ‘[i]t may be impossible to measure his loss by the gross

22   scales available to a court, but he has suffered a wrong; he has

23   lost,’ for example, ‘his chance to bargain with the facts before

24   him.’”    Id.

25         Indeed, the law is clear that a defendant need not have “an

26   intent to permanently deprive a victim of money or property” to be

27   guilty of wire fraud.      United States v. Miller, 953 F.3d 1095, 1103

28   (9th Cir. 2020) (emphasis added).        “Intent to repay, therefore, is

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1    not a defense to wire fraud.”        Id.; see also Ninth Circuit Model

2    Criminal Jury Instruction No. 8.124, comment (“Miller also left

3    unchanged the precedent that intent to repay ‘is not a defense to

4    wire fraud.’” (quoting Miller, 953 F.3d at 1103)).

5          Without this instruction, the jury may be confused by

6    defendant’s arguments and believe that defendant is only guilty of

7    wire fraud if the government proves that his victims suffered a

8    particular amount of loss.       Because this proposed instruction

9    provides helpful guidance on the definition of “intent to deceive and
10   chat” from the recent published Ninth Circuit opinion (Miller) that
11   rendered that definition of “intent to defraud,” the government

12   believes that this additional instruction in its entirety is

13   appropriate and would help the jury.         At the very least, however, the

14   government requests that the following language be included in what

15   is currently the Court’s Instruction No. 29: “The government is not

16   required to prove that a victim suffered any particular amount of

17   loss or any loss at all, only that the defendant intended to deprive

18   the victim of money or property by deceptive means.”

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